Case 3:17-cv-06748-WHO Document 1-12 Filed 11/22/17 Page 1 of 2




EXHIBIT "K"
             Case 3:17-cv-06748-WHO Document 1-12 Filed 11/22/17 Page 2 of 2
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                                                                                                                              11111111111 111111
                                                                                                                                 20556089
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State 8ar, and address):
                                              number,                                                               Cl.nnviuaclarscr-
                                                                                                                FOR Cvunr   sraclamr    -
Lawrence A. Organ (SBN 175503)
California Civil Rights Law Group
332 San Anselmo Avenue
San Anselmo, CA 94960
         TELEPHONE NO.:     (415) 453-4740                               (Optional):
                                                                 FAX NO. (Optiona/p
                                                                                                              F 1 L.L 71.--
                                                                                                                       L-23
                                                                                                            ALAMEDA COUNTY
EMAIL ADDRESS (Optima
              (Optimal)•

                  (Name):
              FOR (Nam):
                           !]
                           Plaintiffs
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
                                                                                                                NOV      1 4 2017
       snmEr ADDRESS:1225          Fallon Street                   •                               CLERK F THE SU ER1OR
                                                                                                                     ERIOR COUR
       MAILING ADDRESS:                                                                            By -     ./0.4‘..         -
                                                                                                                                                Caput
      CITY AND ZIP CODE:
      CfTY                  Oaldand, CA 94612
           BRANCH NAME:UnliMited                                                                  •

      PETMONER/PLAINTIFF:Denlitrie Di-az,
      PETMONER/PLAINTIFF:DenlitliC                      et al.

 RESPONDEN1/DEFENDANT:TeS18,Inc.,
 RESPONDEN1/DEFENDANT:TeS18, Inc.,                 et al.                                               •

                                                                                                  CASE NUMBER
                       PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                               RG17878854
                             (Do not use this Proof of Service to show service of a Summons and Complaint)
      am over 18 years
1. II am                          not a party to this action.
                 years of age and not                 action. II am a resident of or employed in the county where the mailing
    took place.

2. My residence or business address is:
    Evan Allen Services
    4425 Treat Blvd. #149, Concord CA 94521
3. On (date):11/13/2017          I mailed from (city and state): Concord, CA
   the following documents (specify):
    Summons; Complaint; Civil Case Cover Sheet; Notice of Assignment; Notice of CMC and Order


      I= TheThedocuments     arelisted
                  documentsare            in the Attachment to Proof of Service by First-Class Mail—Civil (Documents Served)
                                  listed in
            (fon POS-030(D)).
4. II served
      servedthethedocuments
                   documentsby byenclosing
                                   enclosing them
                                                them in
                                                      in an
                                                         an envelope and (check one):
         El
      a. 1.7:1  depositing
               depositing   the sealed
                                sealed   envelope
                                          envelope  with
                                                     with the
                                                           theUnited
                                                              United States
                                                                     States Postal
                                                                            Postal Service
                                                                                   Service with the postage fully prepaid.
      b. Q placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
                business's practice for collecting and processing correspondence for mailing. On the same day that correspondence is
                placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
                a sealed envelope with postage fully prepaid.
 5. The envelope was addressed and mailed as follows:
     a. Name of person served: CITISTAFF SOLUTIONS, INC. c/o ERIKA SANCHEZ- Registered Agent
     b. Address  of person
        Address of  person served:
                           served:
        1111 W. TOWN AND COUNTRY RD SUITE 27, ORANGE CA 92868




     F1 The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Service
         by First-Class Mail—Civil (Persons Served) (P0S-030(P)),
                                                    (P0S-030(P)).
 II declare
    declare under
            under penalty
                  penalty of
                          of perjury
                             perjury under
                                     under the
                                           the laws
                                               laws of
                                                    of the State of California that the foregoing is true and correct.
 Date: 11/13/2017

 Rob Goodstein                                                                         (e4315
           (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                             (SIGNATURE OF PERSON COMPLETING THIS FORM)

                far Optional Use
 Fenn Approved for
                                           PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                               Code of ClvIl
                                                                                                                            CI4 Procedure
                                                                                                                                  Procedure.§§ 1013,1013e
                                                                                                                                             §51013, 1013e
 Jackie! Council of Catania
 Judd&                                                                                                                                www.courtinfocagoe
                                                                                                                                      www.courfinfoos.gov
          (New January
 POS-030 [New  January 1,1.2005)
                           2005)                         (Proof of Service)
